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   IT IS ORDERED as set forth below:



   Date: November 8, 2022
                                                       ________________________________
                                                                   Paul Baisier
                                                           U.S. Bankruptcy Court Judge

  _______________________________________________________________



                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


 IN RE:                                            )         CHAPTER 7
                                                   )
 ATLANTA LIGHT BULBS, INC.,                        )         CASE NO. 22-52950-PMB
                                                   )
                       Debtor.                     )         JUDGE BAISIER
                                                   )


                CONSENT ORDER GRANTING RELIEF FROM THE
            AUTOMATIC STAY TO BREIT STONE MOUNTAIN OWNER, LLC

          THIS MATTER came before the Court on November 7, 2022, to consider the Motion to

 Approve Consent Order Lifting Automatic Stay [Dkt. No. 160] (the “Motion”) filed by BREIT

 Stone Mountain Owner, LLC (“BREIT”), former landlord to Atlanta Light Bulbs, Inc. (the

 “Debtor”), on October 18, 2022 and any objections thereto. It appears to the Court that it

 has jurisdiction over this proceeding; that this is a core proceeding; that S. Gregory Hays,

 Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate (the “Estate”) of the Debtor in the

 above captioned case (the “Case”) consents to the relief set forth in this Order; that based on

 representations of counsel as evidenced by their signatures shown below, that notice of the
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 Motion was duly given pursuant to Fed. R. Bankr. P. 4001(d), no objections were filed thereto,

 and therefore no further notice or hearing is needed; and that the relief sought in the Motion is

 appropriate and that good and sufficient cause exists for such relief.

        Accordingly, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED, AS

 FOLLOWS:

        1.       The Motion is GRANTED as set forth herein.

        2.       BREIT is hereby granted relief from the automatic stay pursuant to 11 U.S.C. § 362

 for the purpose of retaking possession of the Property immediately, and BREIT is so authorized to

 retake possession of the 2109 Mountain Ind Blvd, Tucker, GA 30084 (the “Property”).1                           The

 Trustee shall cooperate with BREIT as reasonably necessary to permit BREIT to retake

 possession of the Property and BREIT shall permit the Trustee to have access to the Property

 for purpose of inspecting the Property and its contents.

        3.       Given that the Lease expired on February 28, 2022, neither the Debtor, Alliance

 Electrical Service LLC (“Alliance”), nor the Estate shall have any further interest in the Property,

 and the Lease is deemed terminated.

        4.       By agreement of the parties, the Trustee reserves the right to file an action against

 BREIT relating to amounts paid to BREIT for occupancy of the Property (the “Avoidance

 Claim”). In the event that the Trustee asserts an Avoidance Claim against BREIT, BREIT

 reserves its right to assert a gap claim under 11 U.S.C. § 502(f) and/or a Chapter 11 administrative

 claim under 11 U.S.C. § 503 in this case relating to amounts owed to BREIT with respect to the

 Estate’s retention of the Property after April 15, 2022, and the administrative claims bar date in

 this case shall be automatically extended as to BREIT for a period of thirty (30) days following

 the Trustee filing any such Avoidance Claim.

1
        Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Motion.

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        5.      Within fifteen (15) business days of the entry of this Consent Order, BREIT shall

 pay $3,583.33, representing 50% of the security deposit associated with the Lease, to the Trustee,

 for the benefit of the Estate. BREIT shall be entitled to apply the remaining $3,583.33 of the

 security deposit to its prepetition claims against the Debtor.

        6.      The 14-day stay imposed by Fed. R. Bankr. P. 4001(a)(3) is hereby deemed waived.

                                      END OF DOCUMENT

 Prepared and Presented by:

 SCROGGINS & WILLIAMSON, P.C.


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 Consented to by:

 LAW OFFICES OF HENRY F. SEWELL JR., LLC


 By: /s/ Henry F. Sewell, Jr. (with express permission by
 Matthew W. Levin)
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 Counsel for the Chapter 7 Trustee




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